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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                          TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF


      v.                          4:19CR40018 SOH


LONNIE JOSEPH PARKER                                                   DEFENDANT


              MOTION TO MODIFY CONDITIONS OF RELEASE

      Comes Lonnie Joseph Parker, through his attorneys, John Wesley Hall Jr. and

Jeff Rosenzweig, and for his Motion to Modify Conditions of Release states:

      1. Parker is a licensed physician. Although he had a valid Arkansas physician

license, the current terms of his release in this case prohibit his practice of medicine.

The indictment against him alleges misconduct in the prescription of controlled

substances to his patients. Parker’s defense is that he prescribed medications in the

proper course of medical practice and in good faith, indeed weaning some of his

patients off the higher doses which other physicians had prescribed.

      2. In preparation of his defense, Parker has determined that he needs access

to the Prescription Monitoring Program (PMP) established by Ark. Code Ann. §20-7-

601 et seq. This program is administered by the Arkansas Department of Health.

Licensed physicians may access the program. Although he believes he has a right

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to access the material thereon as a licensed physician, out of an abundance of caution

Parker sought approval from the Department of Health and has disclosed both his

status and the reason he seeks access to the PMP. The Department of Health takes

the position that it cannot authorize Parker to access the PMP under his current terms

of release prohibiting him from practicing medicine although he remains licensed.

      3. Access to the PMP materials will assist in enforcing Parker’s constitutional

right to access to exculpatory evidence through both due process and compulsory

process guarantees. Washington v. Texas, 388 U.S. 14, 87 S.Ct. 1920 (1967); In

United States v. Valenzuela-Bernal, 458 U.S. 858, 102 S.Ct. 3440 (1982), the Court

recognized a right of access to exculpatory evidence. The defendant lost in that case

because he did not identify what the witnesses would have said. In this case, the

PMP records will contain independent evidence of the prescription histories of the

witnesses and other patients, and thus will corroborate Parker’s defense. Moreover,

in a pretrial setting relevance and materiality is broader than in a post-conviction

setting.

      4. Therefore, Parker seeks an order of the Court modifying his conditions of

release to state that Parker’s access to the Prescription Monitoring Program is not

prohibited by the conditions of his release.




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      WHEREFORE, Parker prays that the Court modify the conditions of release

as set forth in this motion.



                                   LONNIE JOSEPH PARKER

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